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 5

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   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. Cr. 2:11-cr-323 JAM
12                                 Plaintiff,            STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS
13   v.                                                  UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   KENNETH EATON, et al.,
15                                 Defendants,
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status on September 25, 2012 at 9:45 a.m.
21
            2.      By this stipulation, defendants now move to continue the status conference until
22

23 October 23, 2012 at 9:45 a.m. and to exclude time between September 25, 2012 and October 23,

24 2012 under Local Code T4. Plaintiff does not oppose this request.

25          3.      The parties agree and stipulate, and request that the Court find the following:
26          a.      The government has provided each of the defendants a proposed plea agreement.
27
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            b.      Counsel for defendants desire additional time to review the terms of the plea offers,
 1
     review it with their clients, and conduct additional investigation regarding available options.
 2

 3          c.      Counsel for defendants believe that failure to grant the above-requested continuance

 4 would deny them the reasonable time necessary for effective preparation, taking into account the

 5 exercise of due diligence. Counsel for defendants expect that this will be the final continuance

 6
     necessary.
 7
            d.      The government does not object to the continuance.
 8
            e.      Based on the above-stated findings, the ends of justice served by continuing the case
 9

10 as requested outweigh the interest of the public and the defendant in a trial within the original date

11 prescribed by the Speedy Trial Act.

12          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
13 seq., within which trial must commence, the time period of September 25, 2012 to October 23, 2012

14
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
15
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
16
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
17

18 public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

20 the Speedy Trial Act dictate that additional time periods are excludable from the period

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     within which a trial must commence.
 1
     IT IS SO STIPULATED.
 2

 3
     DATED:        September 20, 2012.
 4

 5                                         /s/ Jared C. Dolan___________________
                                           JARED C. DOLAN
 6                                         Assistant United States Attorney
     DATED:        September 20, 2012
 7

 8                                         /s/ Jared Dolan for____________________
                                           CHRIS COSCA
 9                                         Counsel for Defendant KENNETH EATON
     DATED:        September 20, 2012
10
                                           /s/ Jared Dolan for      _____________
11                                         DINA SANTOS
                                           Counsel for Defendant WILLIAM BOHAC
12 DATED:          September 20, 2012

13
                                           /s/ Jared Dolan for_____________________
14                                         MATTHEW BOCKMAN
                                           Counsel for Defendant JOSEPH GANEY
15

16
                                                 ORDER
17

18          IT IS SO FOUND AND ORDERED this 20th day of September, 2012.

19
                                           /s/ John A. Mendez________________________
20                                         JOHN A. MENDEZ
                                           UNITED STATES DISTRICT COURT JUDGE
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